           If this opinion indicates that it is “FOR PUBLICATION,” it is subject to
                revision until final publication in the Michigan Appeals Reports.




                         STATE OF MICHIGAN

                            COURT OF APPEALS


PEOPLE OF THE STATE OF MICHIGAN,                                   UNPUBLISHED
                                                                   August 15, 2024
              Plaintiff-Appellant,

v                                                                  No. 368411
                                                                   Newaygo Circuit Court
AIDEN MICHAEL WYSOCKI,                                             LC No. 2023-013163-FC

              Defendant-Appellee.


Before: SWARTZLE, P.J., and K. F. KELLY and YOUNG, JJ.

K. F. KELLY (concurring).

       I concur with the majority’s decision that this matter should be remanded.


                                                           /s/ Kirsten Frank Kelly




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